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                EXHIBIT 30
              Case: 1:17-md-02804-DAP Doc #: 2373-5 Filed: 08/14/19 2 of 2. PageID #: 387823
  Message
  From:             Pohl, David [/O=CAH/OU=CARDINAL HEALTH/CN=RECIPIENTS/CN=DAVID.POHL]
  Sent:             1/9/2006 3:25:23 PM
  To:               Brantley, Eric [/O=CAH/OU=CARDINAL HEALTH/CN=RECIPIENTS/CN=ERIC.BRANTLEY]; Rymiszewski, Phil
                    [/O=CAH/OU=CARDINAL HEALTH/CN=RECIPIENTS/CN=PHIL.RYMISZEWSKI]
  CC:               Reardon, Steve [/O=CAH/OU=CARDINAL HEALTH/CN=RECIPIENTS/CN=STEVE.REARDON]
  Subject:          RE: Master Compounding




  Gents,

  If this customer is buying under contract pricing and reselling - we have a serious issue.

  If their volume is legitimate, that would be great, but per Eric's comments this needs to be verified . If they have nothing to
  hide, they should be more that willing to share the information. If they are unwilling , we will need to consider terminating
  the relationship and reporting them to the appropriate authorities for continued investigation .

  Phil - please advise Eric of your availability to discuss ASAP . If I'm available , I'll be glad to participate, but don't hold up
  the call for me.

  Keep me posted ,

  David

         -----Original Message-----
        From:           Brantley, Eric
        Sent:           Monday, January 09, 2006 9:58 AM
        To:             Pohl, David; Rymiszewski, Phil
        Cc:             Reardon, Steve
        Subject:        Master Compounding

        Good morning gentlemen,

        While reviewing Ingredient Limit Excessive Purchase Reports for the month of November, I observed that Newcare
        Home Health Services had purchased 304,200 dosage units of hydrocodone during the month of November 2005. I
        then requested 6 mos. of excessive purchase reports and discovered the following hydrocodone purchases:
        June 2005-180,300 units. July 2005-304,900 units. August 2005-250,500 units. September 2005-454,000 units.
        October 2005-731,800 units. The DEA has indicated that any purchases over 5,000 dosage units of hydrocodone a
        month should be flagged. These are extremely high numbers, and I am conducting an investigation of Newcare.
        Newcare holds a pharmacy license as well as a distributor license. After speaking with the Sales Consultants, the only
        explanation offered by Newcare is that they have started servicing pain management clinics. Such large quantities
        could suggest wholesale activity (These items are purchased at discounted contract pricing), or internet activity. I
        believe a visit is needed to determine customer base, and verify sales of hydrocodone . Newcare would need to
        disclose this information to me during my visit to ensure they are not diverting product purchased from Cardinal
        Health. The sales consultant stated that they purchase from McKesson as well. If you are in agreement, please
        advise as to how to proceed with contacting the customer. I had hoped to set up a call but noticed that Mr.
        Rymiszewski was unavailable most of this week. If you have any questions please contact me. If you are available for
        a conference call please let me know and I will set one up.

        Thank you,

        Eric Brantley
        Manager
        Quality & Regulatory Affairs
        Cardinal Health
        614-757-5624
        FAX 614-652-4628




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